                    Case 2:20-ap-01041-VZ      Doc 106 Filed 06/09/20 Entered 06/09/20 14:03:29                     Desc
                                                 Main Document Page 1 of 4


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                         Christopher K.S. Wong (SBN 308048)                               CLERK U.S. BANKRUPTCY COURT
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                    10   Counsel for Glorya Kaufman,
                         Individually and as Trustee of the
                    11   Glorya Kaufman Trust, Dated 3-13-92

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                                                  UNITED STATES BANKRUPTCY COURT
                    14
                                                   CENTRAL DISTRICT OF CALIFORNIA
                    15
                                                         LOS ANGELES DIVISION
                    16
                    17   In re:                                              Case No. 19-bk-23823-VZ
                    18   TBH19, LLC., a Delaware limited liability           Chapter 11
                         company,
                    19
                                          Debtor,
                    20
                    21   TBH19, LLC, a Delaware limited liability            Adv. No. 2:20-ap-01041-VZ
                         company; LEONARD M. ROSS, individually
                    22   and as trustee of the Leonard M. Ross               ORDER GRANTING MOTION FOR
                         Revocable Trust (u/d/t 12-20-85); LMR-TBH,          REMAND
                    23   LLC, a Delaware limited liability company;
                         and ROSSCO HOLDINGS                                 Hearing:
                    24   INCORPORATED, a California corporation,             Date: May 28, 2020
                                                                             Time: 11:00 a.m.
                    25                     Plaintiffs,                       Place: Courtroom 1368
                                                                                    255 E. Temple Street
                    26            v.                                                Los Angeles, CA 90012
                    27   HARVEY BOOKSTEIN, individually and as
                         trustee of the Harvey and Harriet Bookstein
                    28   Living Trust (u/d/t 8/11/99); HAR-BD LLC, a
A RENT F OX LLP
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                    Case 2:20-ap-01041-VZ       Doc 106 Filed 06/09/20 Entered 06/09/20 14:03:29           Desc
                                                  Main Document Page 2 of 4


                     1   Delaware limited liability company; HAR-
                         LLC, a California limited liability company;
                     2   HAR-RFF LLC, a Delaware limited liability
                         company; HAR-MANAGING ENTITY, LLC,
                     3   a California limited liability company; HAR-
                         BD INVESTORS LLC, a Delaware limited
                     4   liability company; HAR-1011 LLC, a
                         Delaware limited liability company;
                     5   ARMANINO LLP, a California limited
                         liability partnership; MARTIN BURTON, an
                     6   individual; GLORYA KAUFMAN,
                         individually and as trustee of the GLORYA
                     7   KAUFMAN TRUST, DATED 3-13-92; DBD
                         CREDIT FUNDING LLC, a Delaware limited
                     8   liability company; FORTRESS
                         INVESTMENT GROUP; and DOES 1
                     9   through 500 inclusive

                    10                      Defendants.

                    11
                    12
                                IN THIS DISTRICT, AT LOS ANGELES, CALIFORNIA, ON THE DATE
                    13
                         INDICATED BELOW:
                    14
                                On May 28, 2020, at 11:00 a.m. a hearing was held to consider the Motion to Remand
                    15
                         Removed Action (28 USC § 1452) [Dkt. No. 53] (the “Remand Motion”) filed by Plaintiff Leonard
                    16
                         M. Ross, LMR-TBH, LLC and Rossco Holdings Incorporated. Appearances at the May 28, 2020
                    17
                         hearing are reflected on the record.
                    18
                                The Court, having reviewed and considered the Remand Motion; the declaration of Leonard
                    19
                         M. Ross in support thereof [Dkt. No. 54]; the notice and amended notice of the Remand Motion
                    20
                         [Dkt. Nos. 55 and 58]; the Opposition of Bookstein Entities to Motion of Leonard Ross to Remand
                    21
                         Action Removed by Leonard Ross [Dkt. No. 78]; Defendants DBD Credit Funding LLC, Fortress
                    22
                         Investment Group LLC, and Henry Winterstern’s Opposition to Motion to Remand Adversary
                    23
                         Proceeding [Dkt. No. 80]; Plaintiff TBH19, LLC’s Omnibus Limited Opposition to Various Motions
                    24
                         for Remand and Abstention [Dkt. No. 81], Glorya Kaufman's Omnibus Limited Opposition to
                    25
                         Motions for Remand and Abstention and Declarations of Luan K. Phan and Aram Ordubegian in
                    26
                         Support Thereof [Dkt. No. 86]; Plaintiff Leonard M. Ross, Individually and as Trustee of the
                    27
                         Leonard M. Ross Revocable Trust (u/d/t 12-20-85); LMR-TBH, LLC; and Rossco Holdings
                    28
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                    Case 2:20-ap-01041-VZ       Doc 106 Filed 06/09/20 Entered 06/09/20 14:03:29             Desc
                                                  Main Document Page 3 of 4


                     1   Incorporated’s Reply to Defendants DBD Credit Funding LLC, Fortress Investment Group, LLC,

                     2   and Henry Winterstern’s Opposition to Motion to Remand Adversary Proceeding [Dkt. No. 93];

                     3   Plaintiff Leonard M. Ross, Individually and as Trustee of the Leonard M. Ross Revocable Trust

                     4   (u/d/t 12-20-85); LMR-TBH, LLC; and Rossco Holdings Incorporated’s Reply to Opposition of

                     5   Bookstein Entities to Motion of Leonard Ross to Remand Action Removed by Leonard Ross [Dkt.

                     6   No. 95]; all other pleadings and evidence submitted in connection with the Remand Motion; the

                     7   complete record in the above-captioned case; and the arguments and representations made by

                     8   counsel at the hearing; and it appearing that the Court has jurisdiction to hear and decide the

                     9   Remand Motion, that notice of the Remand Motion was sufficient and appropriate and no further

                    10   notice must be given, and based on the findings of fact and conclusions of law set forth on the

                    11   record at the hearing, and for other good cause appearing,

                    12
                    13          IT IS HEREBY ORDERED THAT:

                    14          1.      The Remand Motion is GRANTED.

                    15          2.      The above-captioned adversary proceeding, Adv. No. 2:20-ap-01041-VZ, is

                    16   remanded in its entirety to the Los Angeles Superior Court.

                    17          3.      The Clerk of the Court shall close the above-captioned adversary proceeding.

                    18   Approved as to form:

                    19   Dated: June 3, 2020                        LM ROSS PROFESSIONAL LAW CORP.
                    20
                                                                    By:/s/ Leonard M. Ross
                    21                                                 Leonard M. Ross

                    22                                                  Counsel for Leonard M. Ross, LMR-TBH, LLC
                                                                        and Rossco Holdings Incorporated
                    23
                         Dated: June 3, 2020                        SIDLEY AUSTIN LLP
                    24
                                                                    By:/s/ David R. Carpenter
                    25                                                 David R. Carpenter
                    26                                                  Counsel for DBD Credit Funding LLC, Fortress
                                                                        Investment Group LLC, and Henry Winterstern
                    27
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                    Case 2:20-ap-01041-VZ      Doc 106 Filed 06/09/20 Entered 06/09/20 14:03:29       Desc
                                                 Main Document Page 4 of 4


                     1   Dated: June 3, 2020                   SHEMANOLAW

                     2                                         By:/s/ David B. Shemano
                     3                                            David B. Shemano

                     4                                            Counsel for Harvey Bookstein, Martin Burton,
                                                                  HAR-BD, LLC, HAR, LLC, HAR-RFF,
                     5                                            LLC, HAR-Managing Entity, LLC, HAR-BD
                                                                  Investors, LLC, and HAR-1011, LLC
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                         Date: June 9, 2020
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